Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 1 of 45 PageID 20
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 2 of 45 PageID 21
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 3 of 45 PageID 22
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 4 of 45 PageID 23
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 5 of 45 PageID 24
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 6 of 45 PageID 25
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 7 of 45 PageID 26
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 8 of 45 PageID 27
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 9 of 45 PageID 28
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 10 of 45 PageID 29
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 11 of 45 PageID 30
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 12 of 45 PageID 31
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 13 of 45 PageID 32
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 14 of 45 PageID 33
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 15 of 45 PageID 34
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 16 of 45 PageID 35
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 17 of 45 PageID 36
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 18 of 45 PageID 37
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 19 of 45 PageID 38
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 20 of 45 PageID 39
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 21 of 45 PageID 40
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 22 of 45 PageID 41
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 23 of 45 PageID 42
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 24 of 45 PageID 43
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 25 of 45 PageID 44
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 26 of 45 PageID 45
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 27 of 45 PageID 46
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 28 of 45 PageID 47
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 29 of 45 PageID 48
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 30 of 45 PageID 49
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 31 of 45 PageID 50
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 32 of 45 PageID 51
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 33 of 45 PageID 52
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 34 of 45 PageID 53
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 35 of 45 PageID 54
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 36 of 45 PageID 55
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 37 of 45 PageID 56
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 38 of 45 PageID 57
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 39 of 45 PageID 58
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 40 of 45 PageID 59
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 41 of 45 PageID 60
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 42 of 45 PageID 61
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 43 of 45 PageID 62
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 44 of 45 PageID 63
Case 3:17-cv-01922-S-BK Document 1-5 Filed 07/19/17   Page 45 of 45 PageID 64
